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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No. 2:15-cr-00064-APG-CWH
                                               )
10   vs.                                       )                  ORDER
                                               )
11   JIMMY MATUTE,                             )                  Motion to Modify Conditions of
                                               )                  Release and Supervision (#76)
12                     Defendant.              )
     __________________________________________)
13
14            This matter is before the Court on Defendant Jimmy Matute’s Motion to Modify Conditions
15   of Release and Supervision Thereto (#76), filed on December 29, 2015. The Government filed a
16   Non-Opposition (#78) to Defendant’s Motion on January 20, 2016. Accordingly,
17            IT IS HEREBY ORDERED that Defendant Jimmy Matute’s Motion to Modify Conditions
18   of Release and Supervision Thereto (#76) is granted as follows: Defendant’s conditions of pre-trial
19   release shall now restrict his travel to within Florida and to Nevada for court appearances. All other
20   conditions of Defendant’s pre-trial release, aside from the designation of Defendant’s third-party
21   custodian, remain unchanged.
22            IT IS FURTHER ORDERED that a hearing is set for Wednesday, January 27, 2016 at
23   9:30 a.m. in Courtroom 3D wherein the Court will address Defendant’s mother, Feliciana Matute’s
24   duties as Defendant’s third-party custodian.
25   ...
26   ...
27   ...
28   ...
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 1          IT IS FURTHER ORDERED that Defendant and Defendant’s mother, Feliciana Matute,
 2   shall appear telephonically. They are instructed to call telephone number: (888) 251-2909, access
 3   code 7771745 five (5) minutes prior to the hearing time. Please remain on the line until such time
 4   as the Court joins the call and convenes the proceedings. The use of a cell phone or speaker phone
 5   during the call is prohibited. The call must be made using a land line.
 6
            DATED this 21st day of January, 2016.
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 8                                               ______________________________________
                                                 GEORGE FOLEY, JR.
 9                                               United States Magistrate Judge
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